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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



IN THE MATTER OF                                  UNDER SEAL
GRAND JURY INVESTIGATION
                                                  No. 18-GJ-34 (BAH)




                       NOTICE OF APPEAL OF ANDREW MILLER

       Pursuant to Rules 3 and 4 of the Federal Rules of Appellate Procedure, Andrew Miller,

through his undersigned attorney, hereby files this Notice of Appeal to the United States Court of

Appeals for the District of Columbia Circuit of the Order of Civil Contempt issued by Chief

Judge Beryl A. Howell of the U.S. District Court for the District of Columbia on August 10,

2018, holding Mr. Miller in civil contempt of court for failing to appear and testify before the

Grand Jury on August 10, 2018. ECF No. 36. A corrected order was issued and docketed on

August 13, 2018. ECF No. 38.

       Mr. Miller also appeals and seeks review of the District Court’s Order and Memorandum

Opinion issued under seal on July 31, 2018, dismissing his Motion To Quash (ECF No. 22)

which was subsequently unsealed with redactions on August 2, 2018 (ECF No. 26).



                                                     Respectfully submitted,


                                                     /s/ Paul D. Kamenar
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                                          Paul D. Kamenar, D.C. Bar #914200
                                          1629 K Street, N.W.
                                          Suite 300
                                          Washington, D.C. 20006
                                          (301) 257-9435
                                          (301) 656-6562 (facsimile)
                                          paul.kamenar@gmail.com

                                          Counsel for Andrew Miller

Date: August 13, 2018
